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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

FELICITAS ROMONA CORNETT,                     )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )      Case No. 21-cv-4007
                                              )
RIVERSIDE TRANSPORTATION, INC.                )
and JAC’LON ENEA MILLER,                      )
                                              )
                       Defendants.            )

                                     NOTICE OF REMOVAL

         To:    The Honorable Judges for the United States District Court
                For the District of Kansas, and

                Clerk of the District Court of Republic County, Kansas

         COMES NOW defendant Riverside Transportation, Inc., by and through its attorneys of

record, Baker Sterchi Cowden & Rice, LLC, of Overland Park, Kansas, and pursuant to 28

U.S.C. §§1441 and 1446, removes this action from the District Court of Republic County,

Kansas, to the United States District Court for the District of Kansas.

         As grounds for this removal, defendant states the following:

         1.     This is an action in which the District Courts of the United States have been given

original jurisdiction under the provisions of 28 U.S.C. §1332, in that diversity of citizenship

exists between plaintiff and defendants, and the amount in controversy, upon information and

belief, exceeds the sum of Seventy-Five Thousand Dollars ($75,000) exclusive of interests and

costs.

         2.     On December 17, 2020, Plaintiff Felicitas Romona Cornett filed a Petition in the

District Court of Republic County, Kansas, captioned Felicitas Romona Cornett v Riverside
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Transportation Inc. and Jac’lon Enea Miller, Case No. 2020-CV-000016 (the “State Court

Action”).

        3.      Riverside Transportation, Inc. was served in the State Court Action on January 5,

2021. This Notice is filed within 30 days after service upon the defendant.

        4.      Upon information and belief, Jac’lon Enea Miller has not been served with

process in the State Court Action.

        5.      Thirty (30) days have not expired since any defendant received copies of the

initial pleading setting forth plaintiff’s claims for relief as the defendant Riverside Transportation

was served on January 5, 2021, and defendant Jac’lon Enea Miller has not been served.

        6.      Based on the Petition filed by plaintiff, defendant reasonably believes and states

that plaintiff is now, and was at the time of the commencement of this action, a resident and

citizen of the State of Kansas. See Petition, Exhibit A.¶ 1.

        7.      Defendant Riverside Transportation, Inc. is now and was at the time of the

commencement of this action, a corporation incorporated in the state of Indiana with its principal

place of business in Rockport, Indiana.

        8.      Defendant Jac’lon Enea Miller is now and was at the time of the commencement

of this action, a citizen and resident of the state of Texas.

        9.      The amount in controversy regarding plaintiff’s claims for damages is specifically

pled in plaintiff’s Petition as being an amount in excess of $75,000.00. Therefore, the amount in

controversy requirement of 28 U.S.C. § 1332(a) is satisfied. See Petition, Exhibit A, p. 3.

        10.     The United States District Court for the District of Kansas is the appropriate court

for filing a Notice of Removal from the District Court of Republic County, Kansas, where the




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action is pending. Accordingly, defendant seeks to remove this action to the United States

District Court for the District of Kansas.

        11.     Pursuant to 28 U.S.C. §1446(a), copies of all pleadings, process and orders served

upon this defendant in this action are attached hereto and marked as Exhibit A.

        12.     Pursuant to 28 U.S.C. §1446(d), defendant has served a copy of this Notice of

Removal upon all adverse parties contemporaneously with the filing of this Notice of Removal.

        13.     Pursuant to 28 U.S.C. §1446(d), defendant has served a copy of this Notice of

Removal on the Clerk of the District Court of Republic County, Kansas.

        14.     Pursuant to U.S.C. §1411(a), defendant Riverside Transportation hereby demands

a trial by jury on all issues so triable.

        WHEREFORE, defendant Riverside Transportation, Inc. removes this action from the

District Court of Republic County, Kansas, to the United States District Court for the District of

Kansas.



                                             Respectfully submitted,

                                             BAKER STERCHI COWDEN & RICE, L.L.C.

                                             /s/ John A. Watt
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                                             John A. Watt                   KS #20175
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                                             ATTORNEYS FOR DEFENDANT
                                             RIVERSIDE TRANSPORTATION, INC.




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                                CERTIFICATE OF SERVICE


       I hereby certify that a copy of the above and foregoing was served electronically and/or

by U.S. Mail this 1st day of February, 2021, to the following counsel of record:

Barry A. Clark
Clark & Platt, Chtd.
417 Poyntz Ave.
Manhattan, KS 66502
ATTORNEYS FOR PLAINTIFF


                                             /s/ John A. Watt




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